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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                          21-8058-BER
                              CASE NO. ____________________


IN RE:

SEALED CRIMINAL COMPLAINT
__________________________________/

                                             ORDER

       The United States of America, having applied to this Court for an Order unsealing the

criminal complaint, arrest warrant, and other documents associated with the complaint, the motion

to seal, and the order to seal and the Court finding good cause:

       IT IS HEREBY ORDERED that the criminal complaint, arrest warrant, and other

documents associated with the complaint, the motion to seal, and the order to seal shall be

UNSEALED.

       DONE AND ORDERED in chambers at West Palm Beach, Florida, this ______ day of

February, 2021.



                                              _______________________________________
                                              HONORABLE BRUCE REINHART
                                              UNITED STATES MAGISTRATE JUDGE



cc:   AUSA Mark Dispoto




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